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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

  ANTHONY EID, an individual,

        Plaintiff,

  v.
                                                       Case No: 20-cv-11718
  WAYNE STATE UNIVERSITY,
  WAYNE STATE UNIVERSITY                               Hon. Gershwin A. Drain
  SCHOOL OF MEDICINE,                                  Mag. Judge David R. Grand
  NIKOLINA CAMAJ, MARGIT
  CHADWELL, MATT JACKSON,
  RICHARD S. BAKER, and
  R. DARIN ELLIS, in their individual and
  official capacities, jointly and severally,

        Defendants.
                                                                                      /

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  Elizabeth M. Vincent (P76446)                  PELTON & FORREST, P.L.C.
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                                                                                      /
                           Declaration of Dr. Eva Waineo
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       In accordance with 28 U.S.C. § 1746, Dr. Eva Waineo declares the following:

       1.     I make this declaration based on personal knowledge of the facts stated

 herein or Wayne State University business records to which I have access and am

 able to so testify under oath if called upon to do so.

       2.     My name is Dr. Eva Waineo. I am currently an Assistant Professor at

 Wayne State University School of Medicine. I have been a member of the School of

 Medicine’s Promotions Committee since 2017 and was a member in 2019 when

 then-second-year medical student Anthony Eid came before the Promotions

 Committee.

       3.     As a faculty member and member of the Promotions Committee, I am

 well aware of the professionalism standards of the School’s curriculum. As set forth

 in the School’s Handbook, medical students are considered physicians in training

 and must demonstrate that they are capable of becoming safe and effective

 physicians. To do so, students must display good judgment and a sense of

 responsibility and morality, among other traits. In particular, they must adhere to the

 School’s professionalism standards, which are: Professional Responsibility,

 Competence and Self-Improvement, Respect for Others and Professional

 Relationships, Honesty and Academic Integrity, Personal Responsibility, and Social

 Responsibility.



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       4.     I attended Mr. Eid’s Promotions Committee hearing on February 27,

 2019, as a voting member of the committee. Five other voting members were

 present. The hearing was scheduled to begin at 8:00 a.m. but was delayed

 approximately 20 to 30 minutes because of inclement weather.

       5.     At the beginning of the hearing, Mr. Eid was introduced to the members

 of the committee and given an opportunity to make a statement. Mr. Eid took full

 advantage of the opportunity and was allowed to make a statement, including

 reading prepared remarks, without interruption. During his remarks, I observed Mr.

 Eid’s focus was on how the events posed difficulty for him. He did not focus in

 much depth on how another person may be affected, or focus on what he had learned

 and how he may use that knowledge in his future professional career as a physician.

 Noting the absence of this content – responsibility, professionalism, learning and

 application of learning in future work as a physician – Mr. Eid was asked questions

 to provide him with the opportunity to expand on these areas, but his answers to

 questions were brief, and circled back to negative effects on him.

       6.     After Mr. Eid finished his remarks, members of the committee asked

 questions of Mr. Eid. The questions were geared toward gaining insight into whether

 Mr. Eid understood the professionalism concerns raised by his conduct—namely,

 the troubling false and misleading texts that he admitted to sending to Roe—and its

 bearing on his fitness to be a medical doctor. In response, Mr. Eid provided evasive


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 answers that attempted to shift the blame for his professionalism failures to others.

 For example, in his responses he focused on Roe’s actions instead of his own,

 describing how he was negatively affected. These explanations were longer, and

 when they included any information about his own actions, they lacked specifics.

 When asked about what effect his own actions may have had, he gave short

 responses that did not show genuine remorse or reflection. His tone and brevity

 during these responses were concerning and gave the impression that he was

 providing a brief apology simply because it was expected of him.

       7.     Mr. Eid’s answers did not show a genuine appreciation for the serious

 professionalism concerns raised by his conduct. Whereas in his prepared remarks

 and written statements, Mr. Eid purported to acknowledge the grave professionalism

 issues surrounding his conduct, when questioned by committee members, Mr. Eid’s

 contemporaneous responses revealed a deep-seated skepticism that his conduct had

 any bearing on his fitness to be a doctor. As noted in the minutes of the committee

 hearing, “At no point during the enquiry did [Eid] admit to any wrongdoing on his

 part[,] which was extremely concerning to the committee.”

       8.     After a lengthy question-and-answer session, Mr. Eid left the room so

 that the committee members could deliberate in private.

       9.     During deliberations, the committee members did not discuss the young

 woman whose complaint brought Mr. Eid to the attention of the medical school


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 (“Jane Roe”). [1] Nor did committee members discuss whether Mr. Eid or Ms. Roe

 was telling the truth about various facets of the underlying conduct that brought Eid

 before the Professionalism Committee. That was irrelevant to the Promotions

 Committee’s charge, which was to evaluate Mr. Eid’s conduct and demeanor to

 determine whether his conduct fell below the standards of professionalism and

 whether he was capable of genuine self-improvement to consistently adhere to those

 high standards in the future.

       10.    As reflected in Mr. Eid’s written statements and in his oral remarks to

 the committee, Mr. Eid admitted to repeatedly lying and misrepresenting facts in his

 communications to Ms. Roe. Dishonesty and deceitful conduct—especially when

 coupled with appeals to authority like Apple and law enforcement in an effort to

 pressure a member of the public to disclose private information—raise serious

 professionalism concerns.

       11.    Equally important, however, is whether the student has self-awareness

 and the capacity for self-improvement. Given the inconsistencies in his written

 statements between his purported acknowledgement of wrongdoing and his

 assertions that it did not bear on his fitness to be a doctor, members of the committee

 sought to learn whether Mr. Eid sincerely understood the severity of character



 [1]
   I understand that the parties have referred to his person as “Jane Roe” throughout
 the litigation. I follow that designation in this declaration.
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 deficiency and whether he had the capacity for self-improvement. Mr. Eid’s conduct

 before the committee established without question that he lacked the capacity for the

 kind of fundamental change necessary to avoid similar professionalism lapses in the

 future.

       12.    After careful and deliberate deliberation with my fellow committee

 members, I voted to dismiss Mr. Eid from the School because Mr. Eid’s admitted

 conduct of sending false and misleading texts to a member of the public to gain their

 private information failed to live up to the School’s high professionalism standards,

 including the expectation of honesty and integrity and respect for others. Based on

 my observation of Mr. Eid’s demeanor and the evasive, combative nature of his

 responses, I determined that Mr. Eid’s purported claims of contrition in writing and

 before the committee were completely insincere, said only to placate members of

 the committee—a troubling confirmation that Mr. Eid did not have the capacity for

 self-awareness, self-improvement, and personal responsibility.

       13.    As with every dismissal decision, the decision to vote in favor of

 dismissing Mr. Eid from medical school was very difficult, but it was necessary. The

 behavior and attitude Mr. Eid displayed during his Promotions Committee hearing

 showed that although he fully understood the severity of his situation, he lacked an

 understanding of the importance of professionalism in the medical profession, did

 not demonstrate insight into the effect of his behavior on others, or remorse for


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 actions he described. I concluded that Mr. Eid had a seriously flawed character in

 terms of his ability to conform his conduct to the standards of professional conduct

 expected of doctors and medical students. Simply put, in my expert, considered

 judgment, Mr. Eid was unfit to be a medical doctor.

        14.   The rest of the voting members also voted in favor of dismissal. The

 meeting ended at 10:35 a.m., over 30 minutes longer than the usual meeting.

        15.   The Promotions Committee decision was not a disciplinary decision,

 but an academic decision based on each individual committee member’s subjective

 evaluation of Mr. Eid’s fitness to be a medical doctor as judged by his adherence to,

 and appreciation for, the School’s academic professionalism standards.

        16.   Mr. Eid’s gender played no role in my decision to dismiss him from

 medical school. My decision was not based on whether I believed Ms. Roe as

 opposed to Mr. Eid. Ms. Roe did not appear before the Promotions Committee, Mr.

 Eid did. I therefore had no opportunity or reason to weigh the credibility of Ms. Roe

 against Mr. Eid. If there were any disagreements between them, they were

 immaterial to my decision, which was based solely on Mr. Eid’s conduct, including

 his oral and written statements and his presentation before the committee.

        17.   At the time of Mr. Eid’s hearing, I had no knowledge of any

  investigation of Wayne State University or the School of Medicine by the U.S.

  Department of Education’s Office of Civil Rights. I had no knowledge of the U.S.


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 Department of Education’s Office of Civil Rights’ 2011 “Dear Colleague” Letter to

 colleges and universities regarding Title IX requirements.

       I declare under penalty of perjury that the foregoing is true and correct.




                                                              Eva Waineo, M.D.


 Executed on January 28, 2022




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